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                                   7                                UNITED STATES DISTRICT COURT
                                   8                           NORTHERN DISTRICT OF CALIFORNIA
                                   9
                                  10     JENNIFER SMITH,
                                                                                        Case No. 21-cv-08498-NC
                                  11                   Plaintiff,
                                  12            v.                                      ORDER VACATING JULY 13 CMC
Northern District of California
 United States District Court




                                                                                        AND SETTING CASE
                                  13     LUMENIS, INC.,                                 MANAGEMENT SCHEDULE
                                  14                   Defendant.
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                                              After considering the joint case management statement submitted by the parties on
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                                       July 6, 2022, IT IS HEREBY ORDERED that the July 13 Case Management Conference
                                  18
                                       is VACATED and the following deadlines are established.
                                  19
                                              First, the Court thanks the parties for having consented to the jurisdiction of a
                                  20
                                       magistrate judge. ECF 26, 27.
                                  21
                                              Second, the Court resolves a discovery issue presented in the CMC statement.
                                  22
                                       Defendant’s request (CMC p. 4) for a stay of discovery until mediation is DENIED for
                                  23
                                       lack of good cause shown. Discovery may proceed.
                                  24
                                              Third, discovery in this case is subject to the protocols for employment cases set in
                                  25
                                       N.D. Cal. General Order 71. Discovery disputes must be presented to the Court by a joint
                                  26
                                       letter brief after meet and confer between counsel to attempt to resolve the issue.
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                                              Finally, the Court sets the following case deadlines:
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                                           Case 5:21-cv-08498-NC Document 32 Filed 07/06/22 Page 2 of 2



                                              1. FRCP 26 INITIAL DISCLOSURES: [completed]
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                                              2. PROTECTIVE ORDER TO REGULATE DISCOVERY: August 5, 2022.
                                   2
                                              3. ALTERNATIVE DISPUTE RESOLUTION: Private mediation to be completed
                                   3             by October 28, 2022. [scheduled for Sept. 22, 2022, JAMS].
                                   4          4. AMENDMENT OF PLEADINGS: The deadline to amend pleadings and add
                                                 parties without further leave of Court is August 31, 2022.
                                   5
                                              5. FURTHER CASE MANAGEMENT CONFERENCE: November 30, 2022, at
                                   6             10:00 a.m. by phone. The parties must file a joint case management statement
                                                 by November 23, 2022, in accordance with Civil L.R. 16-10(d).
                                   7
                                              6. NON-EXPERT DISCOVERY: All non-expert discovery must be completed by
                                   8             March 3, 2023. Parties limited to 5 fact depositions per side without further
                                                 leave of Court.
                                   9
                                              7. EXPERT WITNESSES:
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                                                     o Disclosure of expert testimony and reports under Federal Rule of Civil
                                  11                   Procedure 26(a)(2) must be made by April 7, 2023; rebuttal reports by
                                                       May 5, 2023.
                                  12
Northern District of California
 United States District Court




                                                     o Parties must complete all discovery of expert witnesses under Federal
                                  13                   Rule of Civil Procedure 26(b)(4) by May 26, 2023. Daubert motions
                                                       (limited to one omnibus motion per side) filed by June 9, 2023.
                                  14
                                              8. DISPOSITIVE MOTIONS FILED: June 9, 2023.
                                  15
                                              9. PRETRIAL STATEMENTS and MOTIONS IN LIMINE: August 16, 2023.
                                  16
                                              10. PRETRIAL CONFERENCE: August 30, 2023, at 2:00 p.m.
                                  17
                                              11. TRIAL: jury trial on September 11, 2023, at 9:30 a.m.
                                  18
                                  19          The trial will take place in Courtroom 5, 4th Floor, U.S. District Court, 280 S. First
                                  20   Street, San Jose, California. All hearings, conferences, and pretrial proceedings will be by
                                  21   phone or video conference via Zoom until further Court order.
                                  22          IT IS SO ORDERED.
                                  23
                                  24   Dated: July 6, 2022                       _____________________________________
                                                                                       NATHANAEL M. COUSINS
                                  25                                                   United States Magistrate Judge
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